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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


U.S. COMMODITY FUTURES TRADING
COMMISSION,

                   Plaintiff,
                                                                 Case No. 12-CV-11799 (RGS)
                                v.

JOHN B. WILSON AND JBW CAPITAL LLC,

                   Defendants.


                                     NOTICE OF CROSS-APPEAL

       Notice is hereby given that the U.S. Commodity Futures Trading Commission, the

Plaintiff in the above-named matter, hereby appeals to the United States Court of Appeals for the

First Circuit from the denial of restitution in the MEMORANDUM AND ORDER ON

PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT (Docket Entry #67) entered on May

16, 2014, the MEMORANDUM AND ORDER ON PLAINTIFF’S MOTION FOR

RECONSIDERATION (Docket Entry #70) entered on July 17, 2014, and the Court’s FINAL

JUDGMENT FOR PERMANENT INJUNCTION AND CIVIL MONETARY PENALTY

(Docket Entry # 77) entered on October 5, 2014, only to the extent it fails to impose restitution.



November 20, 2014                                    Respectfully submitted,



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                                                  Commodity Futures Trading Commission
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                                                  New York, NY 10005
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                                   Certificate of Service

      I hereby certify that a true copy of the above document was served upon the attorney of

record for Defendants John B. Wilson and JBW Capital LLC by mail and ECF Notice on

November 20, 2014.

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